                                                                                   10-151121
                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION
                                             )
Belmont University                           )
             Plaintiff,                      )
                                             ) Civil Action No.
v                                            ) Jury Demanded
                                             )
Pennsylvania     Manufacturers’    Indemnity )
Company d/b/a PMA Insurance Group            )
             Defendants.                     )


                                 NOTICE OF REMOVAL



       The Defendant, Pennsylvania Manufacturers’ Indemnity Company d/b/a PMA

Insurance Group, by and through counsel hereby files this Notice of Removal pursuant

to 28 U.S.C. § 1441(a) of the action pending in the Chancery Court of Davidson

County, Tennessee styled Belmont University v Pennsylvania Manufacturer’s Indemnity

Company d/b/a PMA Insurance Group on the general docket of that Court to the United

States District Court for the Middle District of Tennessee, at Nashville. Attached hereto

as Exhibit A is a copy of Notice of Filing Notice of Removal and copies of process,

pleadings, and other materials believed to be on file in the office of the Chancery Court

Clerk and Master of Davidson County, Tennessee.

       The above entitled suit was filed in the Chancery Court of Davidson County,

Tennessee on or about August 26, 2011. This suit is of a civil nature of which the District

Courts of the United States have original jurisdiction pursuant to 28 U.S.C. §1332 (a) (1)

and is one which can be removed to this Court pursuant to the provisions of 28 U.S.C.

§1441. This is a civil action in which the amount in controversy is in excess of the sum of



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$75,000 exclusive of interest and costs and is an action between citizens of different

states.

          As alleged in Plaintiff’s Complaint, Plaintiff is a State of Tennessee corporation

and is therefore deemed a citizen of the State of Tennessee pursuant to 28 U.S.C.

§1332(c)(1). Defendant is incorporated in and has its principle place of business in

State of Pennsylvania and pursuant to 28 U.S.C. §1332(c)(1)is therefore deemed a

resident and citizen of Pennsylvania. The real controversy in this suit is, and at the time

of commencement thereof was, and at all times since, has been a controversy between

citizens of different states and the matter in controversy exceeds $75,000 exclusive of

interest and costs.      Accordingly, this Court has subject matter jurisdiction over this

matter pursuant to 28 U.S.C. §1332.

          WHEREFORE, the Defendant, Pennsylvania Manufacturers’ Indemnity Company

d/b/a PMA Insurance Group prays that the above-named action now pending against it

in the Chancery Court of Davidson County, Tennessee be removed therefrom to this

Court.



                                            By:    s/John S. Little
                                                   John S. Little, (#014941)
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                                                   Attorneys for Defendants
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                              CERTIFICATE OF SERVICE

       This is to certify that I served a copy of the foregoing pleading has been filed
electronically, notice of which is provided through ECF system and has also been mailed
via USPS, postage prepaid upon each attorney or firm of attorneys appearing of record
for each adverse party or each pro se party on or before the filing date thereof. This
further certifies that a copy of the foregoing pleading as been served email to Plaintiff’s
counsel, John L. Farringer, IV, at his email address of: jfarringer@sherrardroe.com.

      DATE: This the 12th day of September , 2011.

                                                        WALDROP & HALL, P.A.

                                                By:    s/John S. Little




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